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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       :       CHAPTER 7
                                             :
SHEILA JUANITA MAYES,                        :       CASE NO. 21-59325-BEM
                                             :
         Debtor.                             :

            WITHDRAWAL OF TRUSTEE’S REPORT OF NO DISTRIBUTION

         I, S. Gregory Hays, the Chapter 7 Trustee in the above-referenced case, hereby withdraw

the Trustee’s Report of No Distribution filed electronically on January 23, 2022.


         This 9th day of February, 2022.

                                             /s/ S. Gregory Hays
                                             S. Gregory Hays
                                             Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060
